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                        United States Bankruptcy Administrator
                          Western District of North Carolina
                                   402 West Trade Street, Suite 200
                                        Charlotte, NC 28202
                                        Phone: 704-350-7587
                                         Fax: 704-344-6666

          In re:                                         )
                                                         )   Case No.:    20-30608
          ALDRICH PUMP LLC,1                             )
                                                         )   Chapter 11
                               Debtor.                   )
                                                         )
          In re:                                         )
                                                         )   Case No.:    20-30609
          MURRAY BOILER LLC,1                            )
                                                         )   Chapter 11
                               Debtor.                   )


                       Notice of Solicitation of Parties Interested in Serving
                         on the Official Committee of Asbestos Claimants


        The above-named debtors and debtors-in-possession (the “Debtors”) filed voluntary petitions for
relief under Chapter 11 of the Bankruptcy Code on June 18, 2020. The U.S. Bankruptcy Administrator is
tasked with recommending the appointment of an official committee of creditors or claimants. The Debtors’
petitions or other sources of information indicate that you may be eligible for appointment to a committee
of asbestos claimants in this case. The committee of asbestos claimants performs a vital role in the chapter
11 case.

       If you wish to be considered for membership on a committee of asbestos claimants, please complete
the enclosed Questionnaire Form and return it via email only to the Office of the Bankruptcy
Administrator no later than Friday, June 26, 2020, at 5:00 p.m. (prevailing Eastern time). Please note that
U.S. mail and other delivered packages will NOT be accepted due to COVID-19. If you do not wish to serve
on an official committee, you do not need to complete the Questionnaire Form. The Bankruptcy
Administrator may request a telephone conference with parties responding with interest in being a member
of the Official Committee of Asbestos Claimants.

       If you do not respond to this notice and timely return the completed Questionnaire Form, you will
not be considered.

Dated: Friday, June 19, 2020                      /s/    Shelley K. Abel
                                                  Shelley K. Abel
                                                  United States Bankruptcy Administrator




cc: Debtors’ counsel: John R. Miller, Jr., Esq., Phone: 704-334-0891, jmiller@rcdlaw.net



1      Joint administration has been requested by motion of the Debtors.
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                                  Official Committee Information Sheet

Purpose of Unsecured Creditors’ Committees. To increase participation in the chapter 11 proceeding,
section 1102 of the Bankruptcy Code requires that the Bankruptcy Administrator appoint a committee of
unsecured creditors (the “Committee”) as soon as practicable after the order for relief has been entered. The
Committee ordinarily consists of the persons, willing to serve, who hold the seven (7) largest unsecured
claims of the kinds represented on such committee.

Powers and Duties of Unsecured Creditors’ Committees. Members of the Committee are fiduciaries who
represent all unsecured creditors as a group without regard to the types of claims which individual
unsecured creditors hold against the debtor. Section 1103 of the Bankruptcy Code provides that the
Committee may consult with the debtor, investigate the debtor and its business operations and participate
in the formulation of a plan of reorganization. The Committee may also perform such other services as are
in the interests of the unsecured creditors which it represents. Moreover, Federal Rule of Bankruptcy
Procedure 2019, as amended, requires each member of an official committee to file a verified statement
disclosing its name, its address, and the nature and amount of each “disclosable economic interest”1 held in
relation to the debtor on the date the committee was formed. Rule 2019 also requires the committee to file
a verified supplemental statement updating the earlier information (if information previously disclosed has
materially changed) when taking a position before the court or soliciting votes on a plan.

Employment of Professionals. Section 1103 of the Bankruptcy Code provides that the Committee may,
subject to the bankruptcy court’s approval, employ one or more attorneys, accountants or other
professionals to represent or perform services for the Committee. The decision to employ particular
professionals should occur at a scheduled meeting of the Committee where a majority of the Committee is
present. All professionals retained by the Committee may be compensated from assets of the debtor’s estate
pursuant to section 330 of the Bankruptcy Code. Applications for the payment of professional fees will be
monitored by the Office of the Bankruptcy Administrator and are subject to the Court’s approval. However,
the Committee should carefully review all applications and not rely on the Court or the Bankruptcy
Administrator to discover and object to unreasonable or unnecessary professional fees or costs.

Other Matters. The Committee should elect a chairperson and may adopt bylaws. As a party in interest,
the Committee may be heard on any issue in the bankruptcy proceeding. Federal Bankruptcy Rule 2002(i)
requires that the Committee (or its authorized agent) receive all notices concerning motions and hearings
in the bankruptcy proceeding. In the event you are appointed to an official committee of creditors, the
Bankruptcy Administrator may require periodic certifications of your claims while the bankruptcy case is
pending. Creditors wishing to serve as fiduciaries on any official committee are advised that they may not
purchase, sell or otherwise trade in or transfer claims against the Debtor while they are committee
members absent an order of the Court. By submitting the enclosed Questionnaire and accepting
membership on an official committee of creditors, you agree to this prohibition. The Bankruptcy
Administrator reserves the right to take appropriate action, including removing a creditor from any
committee, if the information provided in the Questionnaire is inaccurate, if the foregoing prohibition is
violated, or for any other reason the Bankruptcy Administrator believes is proper in the exercise of her
discretion. You are hereby notified that the Bankruptcy Administrator may share this information with the
Securities and Exchange Commission if deemed appropriate.




1      “Disclosable economic interest” means any claim, interest, pledge, lien, option, participation, derivative
       instrument, or any other right or derivative right granting the holder an economic interest that is affected by
       the value, acquisition, or disposition of a claim or interest.
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                         United States Bankruptcy Administrator
                        For the Western District of North Carolina
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                                          Charlotte, NC 28202
                                          Phone: 704-350-7587
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                  Questionnaire for the Official Committee of Asbestos Claimants
                          ALDRICH PUMP LLC, Case No. 20-30608 and
                           MURRAY BOILER LLC, Case No. 20-30609


Please complete the following questionnaire, which will be used in determining membership on a
committee, and return it to the Office of the Bankruptcy Administrator by email only1:
Sarah_E_Scholz@ncwba.uscourts.gov no later than 5:00 p.m. (prevailing Eastern time) on Friday,
June 26, 2020.

I am willing to serve on an Asbestos Claimants Committee.                   Yes ( ) No ( )

A. Asbestos Claimant’s Name and Contact Information:

Name:                                                       Phone:
Address:                                                    Fax:
                                                            Email:


B. Counsel (if any) for Claimant and Contact Information:

Name:                                                       Phone:
Address:                                                    Fax:
                                                            Email:


C. Amount of Unsecured Claim (U.S. $):

D. Describe the nature of your claim(s), i.e., whether arising from goods or services provided; loans made;
   litigation; etc., including whether any portion is secured. If any portion of the claim(s) arise from
   litigation, please state the nature of the claim, whether personal injury or property damage, etc., the
   case number and jurisdiction (if applicable) and the status.




E. Representations:

    1. Are you or the company you represent in any way “affiliated” with the debtor within the meaning
       of 11 U.S.C. § 101(2), a shareholder of, or related to the debtor? Yes ( ) No ( ) If a
       shareholder, state the number of shares:




1
  Questionnaires will not be accepted by U.S. Postal Service, certified mail or other methods of delivery,
including Federal Express, UPS, etc., due to COVID-19 and limited office coverage.
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   2. Do you, or the company you represent, engage in a business which directly or indirectly competes
      with the business of the debtor? Yes ( ) No ( )

   3. Have you ever been or are you an officer, director, agent, representative or employee of the debtor?
      Yes ( ) No ( ) Does your claim arise from this relationship? Yes ( ) No ( )

   4. Did you acquire any portion of your unsecured claim after the bankruptcy filing? Yes ( ) No ( )
      If so, set forth the dates(s) acquired, the amount paid and the face amount of the claim:


   5. Have you or your attorney entered into a settlement agreement with the debtor regarding
      resolution of your claim? Yes ( ) No ( )

   6. Do you have a claim against any entity affiliated with the debtors? Yes ( ) No ( )
      State the name of the entity and the nature and amount of the claims:


   7. Do you or any affiliated entities have any other claims against and/or debt or equity securities of
      the debtors? Yes ( ) No ( )

         a) Do you or any affiliated entities have any financial arrangement that may affect the value of
            your claim(s) against or interest(s) in the debtors? Yes ( ) No ( )
            State a description of the financial arrangement and the amount:


   8. If you are represented by counsel, does your attorney represent any other parties in these
      bankruptcy cases? Yes ( ) No ( ) I do not know. ( )

   9. If you have given a proxy to a third party either to represent you at the committee formation
      meeting, or in connection with your claim, please attach a copy of the written proxy.

You may attach a written statement to explain or respond to any questions. To the extent applicable,
provide any power of attorney authorizing counsel to sign on behalf of a claimant.

Creditors wishing to serve as fiduciaries on an official committee are advised that they may not purchase,
sell or otherwise trade in or transfer claims against the debtor while they are committee members absent
an order of the court on application of the creditor.

I certify that, to the best of my knowledge and belief, the answers to this Questionnaire are
true and correct. By executing this Questionnaire, you agree to provide periodic
certifications referenced in the Official Committee Information Sheet to the Bankruptcy
Administrator if requested.


Date:                                            Signature


                                                 Printed Name


                                                 Title

        Note: This is not a proof of claim form. Proofs of claim are filed with the Clerk of the Bankruptcy Court.
